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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ADETOLA OGUNSEGUN,                             )
                                               )
                               Plaintiff,      )
                                               )
vs.                                            )       No.
                                               )
MENARD, INC., a domestic corporation,          )
                                               )
                               Defendant.      )

                                      NOTICE OF REMOVAL

       To:     The United States District Court for the Northern District of Illinois.

               Plaintiff’s Counsel:    Richard C. Balind
                                       Larry L. Fleischer & Associates, Ltd.
                                       205 W. Randolph St. #2200
                                       Chicago, IL 60606
                                       Lawoffice@Flysure.net


       Pursuant to 28 U.S.C. §§1441 and 1446, Defendant, Menard, Inc., by and through its

attorneys, Gary T. Jansen, Nicole D. Milos, and Laura E. Fahey, of Cremer, Spina, Shaughnessy,

Jansen & Siegert, LLC, hereby files this Notice of Removal of the above-captioned matter from

the Circuit Court of Cook County, Illinois, to the United States District Court for the Northern

District of Illinois. In support of this Notice, Defendant respectfully states as follows:

1.     On December 16, 2015, Plaintiff Adetola Ogunsegun filed a Complaint with the Circuit

Court of Cook County, Law Division, Chicago, Illinois (See Exhibit “A”, Plaintiff’s Complaint).

2.     On December 29, 2015, Menard, Inc.’s registered agent was served with Plaintiff’s

Complaint and Summons (See Exhibit “B”, Notice of Service of Process).

3.     Plaintiff’s Complaint alleges that on September 10, 2014, Adetola Ogunsegun was a

customer at the Menard’s store located at 6301 Oakton, Morton Grove, Illinois, when she
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fell/tripped upon and over a box of store merchandise. (See Exhibit “A”.) Upon information and

belief, Plaintiff Adetola Ogunsegun is a resident of the State of Illinois.

4.     Defendant Menard, Inc. is a corporation duly organized and existing under the laws of

Wisconsin, with its principal place of business in the State of Wisconsin, at 5101 Menard Drive,

Eau Claire, Wisconsin. As such Defendant Menard, Inc. is a citizen of the State of Wisconsin.

5.     Plaintiff’s Complaint demands judgment in an amount in excess of Fifty Thousand

Dollars ($50,000.00). (See Exhibit “A”.) The 222(b) Affidavit attached to Plaintiff’s Complaint

states that the damages sought exceed Fifty Thousand Dollars ($50,000). (See Exhibit “A”.)

6.     Plaintiff’s Complaint alleges that Adetola Ogunsegun was caused to incur legal

obligations for medical, surgical, and nursing care, and has been caused to suffer pain and

disability. (See Exhibit “A”.) Further, Plaintiff’s Complaint alleges that Adetola Ogunsegun has

lost and will continue to lose wages, salaries, and income, which she would otherwise have

obtained. (See Exhibit “A”.)

7.     The medical records of Plaintiff Adetola Ogunsegun contain the following diagnosis of

Plaintiff’s injuries: lumbar disc herniation; left rotator cuff tear; left medial meniscus tear;

musculo-ligamentous sprains/strains of the cervical spine, thoracic spine, lumbar spine, left

shoulder, left hip, left knee, and left thigh. (See Exhibit “C”, Plaintiff’s medical records.)

Plaintiff’s medical bills total $18,471.30. (See Exhibit “C”.)

8.     Where a plaintiff’s complaint alleges permanent injuries and significant medical expenses

it is apparent from the face of the complaint that damages exceed the jurisdictional amount.

McCoy v. General Motors Corp., 226 F. Supp.2d 939, 942 (N.D. Ill. 2002), see also Gallo v.

Homelite Consumer Products, 371 F. Supp. 2d 943, 948 (N.D. Ill. 2005).




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9.      28 U.S.C. § 1446 imposes a 30 day limitation upon a defendant to timely file a notice of

removal. Therefore, the only information a defendant can generally rely upon is the allegations

of a plaintiff’s complaint.

10.     Therefore, it appears to a reasonable probability that Plaintiff Adetola Ogunsegun seeks

damages exceeding $75,000, exclusive of interest and costs.

11.     The United States District Court for the Northern District of Illinois has original

jurisdiction over this matter under 28 U.S.C. §1332 (a)(2)(c)(1), there being diversity between

the citizenship of Plaintiff and that of Defendant, and the matter in controversy exceeding the

sum or value of $75,000, exclusive of interest and costs.

12.     Therefore, this lawsuit is removable from state court to the United States District Court

for the Northern District of Illinois, pursuant to 28 U.S.C. §1441 (a) and 28 U.S.C. §1332

(a)(2)(c)(1).

13.     Menard, Inc.’s Notice of Removal is timely because it was filed within thirty days after

the receipt by Defendant, through service, of the initial pleading setting forth the removable

claims for relief. 28 U.S.C. § 1446(b).

14.     Written notice of the filing of the Notice of Removal has been served on Plaintiff through

her counsel, as required by 28 U.S.C. §1446 (d).

15.     A true copy of this Notice of Removal has been filed with the Circuit Court of Cook

County, Illinois, as provided by 28 U.S.C. §1446 (a).

16.     By filing this Notice of Removal, Defendant Menard, Inc., does not waive any

jurisdictional objections or any other defenses that are available.

        WHEREFORE, Defendant, Menard, Inc., respectfully requests that this civil action be

removed from the Circuit Court of the Cook County, Illinois, and that this Court accept



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jurisdiction over this action, and henceforth, that this action be placed on the docket of this Court

for further proceedings, as though this action had originally been instituted in this Court.



                                      Respectfully submitted,



                                      s/Gary T. Jansen______________________
                                      One of the Attorneys for Defendant
                                      MENARD, INC.




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